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 2   JASON HITT
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     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )           Case No. 2:08-cr-0123 GEB
                                   )
11                  Plaintiff,     )           STIPULATION AND ORDER
                                   )           CONTINUING JUDGMENT AND
12        v.                       )           SENTENCING FOR DEFENDANT
                                   )           SERAFIN GONZALEZ
13   SERAFIN GONZALEZ, and         )
     MIGUEL VALENICA,              )
14                                 )
                    Defendants.    )
15   ______________________________)
16        Plaintiff, United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, and defendant Serafin GONZALEZ, by
18   his counsel Jan Karowski, Esq., hereby stipulate and agree that the
19   judgment and sentencing currently set for Friday, September 18, 2009,
20   at 9:00 a.m. should be continued to Friday, October 23, 2009, at
21   9:00 a.m.
22   / / /
23   / / /
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 1        The requested continuance is based upon the need for defense
 2   counsel to become familiar with the case, speak to government counsel
 3   about mitigation of sentence, and review and/or object to aspects of
 4   the Presentence Report.        Defense counsel replaced attorney Robert
 5   Peters, Esq. after Mr. Peters passed away.
 6
 7                                              Respectfully Submitted,
 8                                              LAWRENCE G. BROWN
                                                United States Attorney
 9
10   DATED:     September 18, 2009        By:   /s/Jason Hitt
                                                JASON HITT
11                                              Assistant U.S. Attorney
12
13   DATED:     September 18, 2009        By:   /s/Jason Hitt
                                                Telephonically authorized to sign
14                                              for Mr. Karowski on 09-17-09
                                                JAN KAROWSKI, Esq.
15                                              Attorney for Serafin GONZALEZ
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 1                                          ORDER
 2        Based upon the representations and stipulation of counsel, IT IS
 3   HEREBY ORDERED that the judgment and sentencing set for September 18,
 4   2009, at 9:00 a.m., is continued to October 23, 2009, at 9:00 a.m.
 5   Dated:     September 18, 2009
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 7                                       GARLAND E. BURRELL, JR.
 8                                       United States District Judge

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